          Case 2:25-cv-02562-LGD                     Document 4          Filed 05/08/25    Page 1 of 2 PageID #: 26

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District of New York

            MARIO BONILLA VELASQUEZ,                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                 V.                                          Civil Action No. 2:25-cv-02562-LGD
                                                                     )
     HAWKINS FOODMART, INC. and JERICHO                              )
      WHOLESALE, LLC d/b/a 76 Gas Station,                           )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) HAWKIN~ FOODMART, INC.
                                           440 Hawkins Avenue
                                           Ronkonkoma, NY 11779

                                           JERICHO WHOLESALE, LLC
                                           100 Jericho Quadrangle, Suite 209
                                           Jericho, NY 11753


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                           Peter A. Romero, Esq.
                                           Romero Law Group PLLC
                                           490 Wheeler Road, Suite 277
                                           Hauppauge, New York 11788



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                BRENNA B. MAHONEY
                                                                                CLERK OF COURT


Date:          5/8/2025
                                                                                          Signature o f . ~
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